          Case 1:18-cv-01551-ESH Document 20-6 Filed 08/03/18 Page 1 of 7



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
Lucas Calixto, et al.,               )
                                     )
             Plaintiffs,             )
                                     )
      v.                             )    Case No. 1:18-cv-01551-ESH
                                     )
UNITED STATES DEPARTMENT OF )
THE ARMY, et al.,                    )
                                     )
             Defendants.             )
____________________________________)

                             DECLARATION OF JINGQUAN QU

I, Jingquan Qu, hereby declare as follows:

       1.      I am a 29-year-old non-citizen who came to the United States legally on an F-1 visa

in early 2013. I have not left the United States since arriving in 2013.

       2.      In February 2016, I enlisted in the United States Army Reserve through the Military

Accessions Vital to the National Interest (“MAVNI”) program.

       3.      In May 2016, I began participating in military drills with the 716th Quartermaster

Company in Jersey City, New Jersey as a U.S. Army Specialist (E-4). Since May 2016, I have

attended and participated in drills with my unit, including in calendar year 2017 and calendar year

2018. I most recently drilled on July 21-22, 2018.

       4.      In February 2017, USCIS received my completed naturalization application (Form

N-400).

       5.      My naturalization application included a Form N-426, by which my commanding

officer certified my honorable service in the U.S. military.




                                                 1
        Case 1:18-cv-01551-ESH Document 20-6 Filed 08/03/18 Page 2 of 7



       6.      In November 2017, the Army confirmed my honorable service yet again through

execution and provision of another Form N-426, signed by Col. Brian Thomas.

       7.      On July 22-23, 2018, via emails, I asked a Human Resources SGT with my unit if

she knew when I would be shipping to basic training.

       8.      On July 27, 2018, the Human Resources SGT responded to my emails with the

following message: “Good morning I am sorry to inform you, you do not have a ship date because

you were given discharge orders effective 20161201.” Attached to the SGT’s email was U.S.

Army Order 327-01, dated November 23, 2016, which states that I was discharged from the U.S.

Army Reserve, effective December 1, 2016. A copy of that discharge order is attached to this

declaration as Exhibit A (with certain personal information redacted).

       9.      On July 27, 2018, I responded to the Human Resources SGT’s email and asked for

the name of the person who sent her U.S. Army Order 327-01. I also explained that the discharge

might have been a mistake and stated that “I am trying to find out the reason and to confirm with

them.” The Human Resources SGT has not responded to my email or otherwise provided answers

to my questions.

       10.     I was provided no notice of the U.S. Army’s intent to discharge me, no specific

reasons or grounds for my discharge, and none of the facts or circumstances that the Army

considered or found to justify my discharge. I did not know that I was discharged until July 27,

2018, even though the discharge order is dated November 2016 and purports to be effective as of

December 1, 2016. Prior to July 27, 2018, I had not received a copy of that discharge order. Nor

did the military inform me that I was being or had been discharged (until the July 27, 2018 email

from the Human Resources SGT).




                                                2
        Case 1:18-cv-01551-ESH Document 20-6 Filed 08/03/18 Page 3 of 7



       11.     To the contrary, I understood that I was serving in the U.S. military throughout

2016, 2017, and up until July 27, 2018. For example, I attended an annual Army holiday event in

December 2016.

       12.     In addition, I drilled with my unit throughout the December 2016 through July 2018

period and was paid for those drills, and I paid for insurance related to my military service during

the same period.

       13.     Also, I was subjected to a Counter Intelligence (“CI”) interview in January 2018.

       14.     And, neither N-426 certification of my honorable service – signed by military

officials in early 2017 and late 2017, respectively – reflected that I was discharged. In fact, the

military selected “no” in response to the question “Is the requestor separated?” found in Part 6 of

Form N-426.

       15.     Further, I understand that the Department of Defense recently reported to the Court

and class counsel in the related Nio class action case (where I am a recognized class member) that

I still am serving by providing the following: a date in the three-year mark column (instead of an

“N/A” indicating that I am no longer serving); that my CI interview results were sent to the DoD

CAF in February 2018; and that my MSSD results are still “pending.” I do not understand how

my MSSD still could be pending if I was discharged in December 2016.

       16.     I have never been subject to any military disciplinary proceeding or action. I do

not understand why the U.S. military would not want me to continue serving.

       17.     All that was included in the discharge order that I finally received a copy of on July

27, 2018 was a reference to “Authority: AR 135-178” and “Type of Discharge: Uncharacterized.”

       18.     I was provided no opportunity to respond to or be heard on the matter of my

discharge from the U.S. Army Reserve.



                                                 3
Case 1:18-cv-01551-ESH Document 20-6 Filed 08/03/18 Page 4 of 7
Case 1:18-cv-01551-ESH Document 20-6 Filed 08/03/18 Page 5 of 7




                         Exhibit A
Case 1:18-cv-01551-ESH Document 20-6 Filed 08/03/18 Page 6 of 7
Case 1:18-cv-01551-ESH Document 20-6 Filed 08/03/18 Page 7 of 7
